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                  EXHIBIT B-089
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                   IN THE SUPERIOR COURT OF FULTON COUN~~=------..
                                                                                FILED IN OFFICE
                                     STATE OF GEORGIA


INRE:                                         )
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
Witness:                                      )       Judge Robert C. I. McBurney
Boris Epshteyn                                )


   CERTIFICATE OF MATERIAL WITNESS PURSUANT TO UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO.

       Upon the petition ofFani T. Willis, District Attorney, Atlanta Judicial Circuit, pursuant to

the Uniform Act to Secure the Attendance of Witnesses from Without the State, codified at

O.C.G.A. § 24-13-90 et seq., the Court issues the following Certificate under seal of this Court,

and further says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this Court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, et seq., "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions

           related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is
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    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).
                                                   '
    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that Boris Epshteyn, born August 14, 1982, (hereinafter, "the Witness") is a

    necessary and material witness to the Special Purpose Grand Jury's investigation. The

    Court further finds that the Witness currently resides in Washington, D.C.

 4. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that the Witness is known to be affiliated with both former President Donald

    Trump and the Trump Campaign.

 5. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that the Witness served as an aide to the Trump Campaign in the weeks

    following the November 2020 election.

 6. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that in January 2022, the Witness gave a publicly broadcast interview with

    MSNBC. During the interview, the Witness was asked whether he was involved in a

    plan organized by the Trump Campaign to have individuals purporting to be duly
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    elected and qualified presidential electors submit false certificates of vote to former

    Vice President Michael Pence and others. In response to the question, the Witness

    stated, "Yes, I was part of the process, to make sure there were alternate electors for

    when, as we hoped, the challenges to the seated electors would be heard and would be

    successful -part    of the 12th Amendment of the Constitution and the Electoral Count

    Act." The Witness further stated that he acted "under the leadership of Rudy

    Giuliani."

 7. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that the Witness, based on the above, is a necessary and material witness. The

    Witness possesses unique knowledge concerning the logistics, planning, and

    execution of efforts by the Trump Campaign to submit false certificates of vote to

    former Vice President Michael Pence and others. The Witness possesses unique

    knowledge concerning relevant communications between the Witness, former

    President Donald Trump, the Trump Campaign, and other known and unknown

    individuals involved in the multi-state, coordinated efforts to influence the results of

    the November 2020 elections in Georgia and elsewhere. Finally, the Witness's

    anticipated testimony is essential in that it is likely to reveal additional sources of

    information regarding the subject of this investigation.

 8. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 9. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Wednesday, September 21, 2022, at 9:00 a.m., at the Superior
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    Court of Fulton County, Fulton County Courthouse, 136 Pryor Street, 3rd Floor,

    Atlanta, Georgia 30303. The Court notes that the District Attorney anticipates that the

    Witness's testimony will not exceed one day.

 10. The Office of the Fulton County District Attorney, in and for the State.of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with O.C.G.A. §24-13-

    90 et seq.

 11. The Witness shall be given protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters

    which arose before the Witness's entrance into this State and other states, while

    traveling to and from this Court for the purpose of testifying for this case.

 12. The State of Georgia is a participant in a reciprocal program providing for the

    securing of witnesses to testify in foreign jurisdictions which likewise provide for

    such methods of securing witnesses to testify in their courts.
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       13. This Certificate is made for the purpose of being presented to a judge of the Superior

           Court of the District of Columbia by the United States Attorney for the District of

           Columbia or his duly authorized representative, who is proceeding at the request and

           on behalf of the Office of the Fulton County District Attorney.

       WITNESS MY HAND AND SEAL as a judge of the Superior Court of Fulton County,

Georgia,            "" {

       This the L      day of September, 2022.




                                                      on.                    rncy
                                                    Superior Court of Fulton County
                                                    Atlanta Judicial Circuit
                                                    State of Georgia
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                     Exhibit A
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IN RE: REQUEST FOR
       SPECIAL PURPOSE
       GRAND JURY

              ORDER APPROVifNGREQUEST FOR SPECIAL PURPOSE
              GRAND JURY PURSUANT TO O.C.G.A. &15-12-100,et seq.

       The District Attorney for the AtlantaJudicialCircuitsubmitted to the judges of the

Superior Court of Fulton County a requestto impanela specialpurposejury for the purposesset

forth in that request. This request was consideredand approvedby a majority of the total

number of the judges of this Court, as requiredby O.C,G.A.§15-12-I00(b).

       IT IS THEREFORE ORDEREDthat a specialpurposegrandjury be drawn and

impaneled to serve as provided in O.C.G.A.§ 15-12-62.1,15-12-67,and 15-12-100,to

commenceon May 2, 2022, and continuingfor a period not to exceed 12 months. Suchperiod

shall not include any time periodswhen the supervisingjudge dete1minesthat the special

purpose grand jury cannot meet for safety or other reasons,or any time periods when normal

court operations are suspendedby order of the SupremeCourtof Georgia or the Chief Judge of

the Superior Court. The special purpose grandjury shall be authorizedto investigate any and all

facts and circumstancesrelating directly or indirectlyto alleged 1~olationsof the laws of the

State of Georgia, as set forth in the requestof the DistrictAttorneyreferenced herein above.

       Pursuant to O.C.G.A. § 15-12-J0J(a),theHonorableRobertC. I. McBurneyishereby

assigned to supervise and assist the special purposegrandjmy, and shall charge said special

purpose grandjury and receive its reports as providedby law.
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       Thi, authorization ,hall include the investigation of any overt acts or predicate acts

relating to the subject of the special purpose grand jury's investigative purpose. The special

purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions ofO.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will pennit the

time, efforts, and attention of the regular grandj11ry(ies)impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of criminal matters that has accumulated as a

result of tile COVlD-19 Pandemic.

        IT IS FURTHER OIScLuo.n.JC.·~~is Order shall be filed in the Office of the Clerk of

the Superior Court of Fulto Councy.      I\ \,
        SO ORDERED,TH~                   A~,.c.:~~'-l'-+-~--'2022.



                                     "
                               CHRISTOP          S. BRASHER~EF           mDGE
                               Superior Court of Fulton County
                               Atlanta Judicial Circuit
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                        Exhibit B
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                      OFFICE OF THE FULTONCOUNTYDISTRICTATTORNEY
                                     ATIANTAJUD!ClAL
                                                  CIRCUIT
                                  136PRYORSTREETSW,3RDFLOOR
.         '    /"                    ATLANTA,GEORGIA30303
~II    J,( ..&tl«.;                                                           TELEPHONE404·612·4639
DistrictAttorney



      The HonorableChristopherS. Brasher
                                                                             2,02-2.-EX- DODDl7
      ChiefJudge, Fulton County SuperiorCourt                                 FILED IN OFFICE
      Fulton County Courthouse                                                                       ,.{)
      185 Central Avenue SW, Suite T-8905
      Atlanta, Georgia30303

      January20, 2022

      Dear Chief Judge Brasher:

      I hope this letter finds you well and in good spirits.Pleasebe advisedthat the DistrictAttorney's
      Offic~has received infonnation indicatinga reasonableprobabilitythat the State of Georgia's
      administrationof elections in 2020, includingthe State's electionof the Presidentof the United
      States,was subject to possible criminaldisruptions,Our officehas also learned that individuals
      associ'atedwith these disruptionshave contactedotheragenciesempoweredto investigatethis
      matter,includingthe Georgia Secretaryof State,the GeorgiaAttorneyGeneral,and the United
      StatesAttorney's Office for the NorthernDistrictof Georgia,leavingthis office as the sole
      agencywithjurisdiction that is not a potentialwitnessto conductrelatedto the matter.As a
      result,,our officehas opened an investigationinto any coordinatedattemptsto unlawfullyalter
      the outcomeof the 2020 electionsin this state.

      Wehave made efforts to interviewmultiple witnessesand gatherevidence,and a significant
      numberof witnesses and prospectivewitnesseshaverefusedto cooperatewith the investigation
      absenta subpoenarequiring their testimony.By way of example,GeorgiaSecretaryof State
      BradRaffensperger,an essential witnessto the investigation,has indicatedthat he will not
      participatein an interview or otherwiseoffer evidenceuntil he is presentedwith a subpoenaby
      my office.Please see Exhibit A, attachedto this letter.

      Therefo,re,I am hereby requesting,as the electedDistrictAttorneyfor Fulton County,pursuant
      to O.C.G.A.§ 15-12-100et. seq., that a special plll])osegrandjury be impaneledfor the purpose
      of investigatingthe facts and circumstancesrelatingdirectlyor indirectlyto possible attemptsto
      disruptthe lawfuladministrationof the 2020 electionsin the State of Georgia.Specifically,a
      specialpurpose grand jury, which will not have the authorityto return an indictment but may
      makerecommendationsconcerningcriminalprosecutionas it shall see fit, is needed for three
      reasons:first, a special purpose grandjury can be impaneledby the Court for any time period
      required,inorder to accomplish its investigation,whichwill likelyexceed a normal grandjury
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    term;second,the special purpose grandjury wouldbe empoweredto reviewthis matterand this
    matteronly, with an investigatoryfocusappropriateto the complexityof the facts and
    circumstancesinvolved; and third, the sittinggrandjury wouldnot be requiredto attemptto
    a.ddr~ssthis matter in addition to their normalduties.

    Addi\iona.lly,I am requesting that, pursuantto 0.C.G.A. § 15-12-101,a Fulton CountySuperior
    CourtJudge be assigned to assist and supervisethe specialpurposegrandjury in carryingout its
    investigationand duties.
          '

    I have attacheda proposed order impanelingthespecialpurposegrandjury for the consideration
    ofthe;Court.

\espeptful~,       rJ I
      '        \ A)~
-     stric·tAttorney,Atlanta Judicial Circuit

    ExhibitA: Transcriptof October31, 2021 episodeof 1\1eetthe Presson NBC News at 26:04
    (video1l.rchived
                   at https://www.youtube.com/wa.tch?v=B7lcBR.Pgt9k)
    ExhibitB: Proposed Order

    cc:
    The HonorableKimberly M. EsmondAdams
    The HonorableJane C. Barwick
    The HonorableRachelle Camesda.le
    The HonorableThomas A. Cox, Jr.
    The HotjorableEric Dunaway
    The HonorableCharles M. Ea.ton,Jr.
    The HonorableBelinda E. Edwards
    The HonorableKelly Lee Ellerbe
    The HonprableKevin M. Fanner
    The HonorableUral Glanville
    TheHon9rableShakura L. lngram
    The HonorableRachel R. Krause
    The Hon6rableMelynee Leftridge
    The HonorableRobert C.I. rvicBumey
    The HonorableHenry M. Newkirk
    The Hono'rableEmily K. Richardson
    TheHono~ableCraig L. Schwall, Sr.
    The HonotablePaige Reese Whitaker
    The HonorableShermela J. \Villiams
    FultonCountyClerk of Superior Court Cathelene"Tina" Robinson
